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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
EL DORADO DIVISION
UNITED STATES OF AMERICA )
)
Vv. } CRIMINAL NO.1:21CR10003-001
)
)

KEVIN RAY HOLLAND

PRELIMINARY ORDER OF FORFEITURE

On April 28, 2021,-a Grand Jury sitting in the Western District of Arkansas returned an
Indictment against the Defendant, Kevin Ray Holland charging him with three counts of
Knowingly and Intentionally Distribute a Controlled Substance in violation of Title 21 U.S.C. §
841 (a)(1); one count of Felon in Possession of a Firearm, in violation of Title 18 U.S.C. § 922
(g)(1) and 924 (a)(2), and a forfeiture allegation.

In the forfeiture allegation of the Indictment, the United States seeks forfeiture, pursuant
to Title 18 U.S.C. §§ 924(d) and 3665 of:

1. a Star Bonifacio Echeverria, model 1920, 9mm Largo (9x23mm)/9mm Bergmann-

Bayard, semi-automatic pistol, with serial number 21973;

2. a Remington Arms Company, Inc., model 870, 12 gauge shotgun with serial
number W631565M;
3. a Sturm, Ruger & Company, Inc., model 10/22, .22 caliber semi-automatic rifle,

with serial number 826-108 16;

4, a Marlin Firearms Co., model 995, .22 caliber rifle, with serial number 21533198;
and
5. a Keystone Sporting Arms, .22 caliber rifle, with serial number 532974

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as property involved in, or used to facilitate the offense.

On June 7, 2021, the Defendant pleaded guilty to the Indictment. Pursuant to a Plea
Agreement entered into by the parties, the Defendant agrees to forfeit all rights, title and interest
to a Star Bonifacio Echeverria, model 1920, 9mm Largo (9x23mm)/9mm Bergmann-Bayard,
semi-automatic pistol, with serial number 21973; a Remington Arms Company, Inc., model 870,
12 gauge shotgun with serial number W631565M; a Sturm, Ruger & Company, Inc., model 10/22,
.22 caliber semi-automatic rifle, with serial number 826-10816; a Marlin Firearms Co., model 995,
.22 caliber rifle, with serial number 21533198; and a Keystone Sporting Arms, .22 caliber rifle,
with serial number 532974. The Defendant acknowledges that all property covered by the Plea
Agreement is subject to forfeiture as property facilitating illegal conduct, or property involved in
illegal conduct giving rise to forfeiture, or as substitute assets for property otherwise subject to
forfeiture.

Pursuant to the Plea Agreement, the Defendant consents to the immediate entry of a
Preliminary Order of Forfeiture upon entry of the guilty plea. The Defendant further agrees that
upon entry of the Preliminary Order of Forfeiture, such Order will be considered final as to
defendant’s interests in the property. The Defendant agrees to immediately withdraw any claims
to property seized in connection with this case in any pending administrative and civil forfeiture
proceeding, and consents to the forfeiture of all properties seized in connection with this case to
the United States. The Defendant agrees to execute any and all documents requested by the
Government to facilitate or complete the forfeiture process. The Defendant further agrees not to
contest or to assist any other person or entity in contesting the forfeiture of the property seized in
connection with this case.

Pursuant to the Plea Agreement, the Defendant agrees to consent to the entry of Orders of

Forfeiture for such property and waives the requirements of Federal Rules of Criminal Procedure

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32,2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment. The Defendant
acknowledges that he understands that the forfeiture of assets is part of the sentence that may be
imposed in this case and waives any failure by the court to advise him of this, pursuant to Rule
11(b)(1)(D, at the time his guilty plea is accepted.

Pursuant to the Plea Agreement, the Defendant further agrees to waive all constitutional
and statutory challenges in any manner (including direct appeal, habeas corpus, or any other
means) to any forfeiture carried out in accordance with the Plea Agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment. The Defendant agrees
to take all steps as requested by the United States to pass clear title to forfeitable assets to the
United States, and to testify truthfully in any judicial forfeiture proceeding. The Defendant also
agrees that the forfeiture provisions of the Plea Agreement are intended to, and will, survive him,
notwithstanding the abatement of any underlying criminal conviction after the execution of this
agreement. »

Accordingly, it is hereby ORDERED, DECREED AND ADJUDGED:

1. That based upon the guilty plea of the Defendant, the following assets shall be forfeited
to the United States:

a) a Star Bonifacio Echeverria, model 1920, 9mm.Largo (9x23mm)/9mm Bergmann-Bayard,

semi-automatic pistol, with serial number 21973;

b) a Remington Arms Company, Inc., model 870, 12 gauge shotgun with seria! number

W631565M;

c) aSturm, Ruger & Company, Inc., model 10/22, .22 caliber semi-automatic rifle, with serial

number 826-10816;

d) a Marlin Firearms Co., model 995, .22 caliber rifle, with serial number 21533198; and

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e) a Keystone Sporting Arms, .22 caliber rifle, with serial number 532974
as property facilitating illegal conduct, or property involved in illegal conduct giving rise to
forfeiture, or as substitute assets for property otherwise subject to forfeiture.

2. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this Order, the United States is
authorized to seize any specific property that is subject to forfeiture as set forth herein in this Order
and the Plea Agreement, to conduct any discovery the Court considers proper in identifying,
locating or disposing of the property; and to commence proceedings that comply with any statutes
governing third-party rights.

3. Upon entry of this Order, the United States is authorized to commence any applicable
proceeding to comply with statutes governing third party rights, including giving notice of this
Order.

4. The United States shall publish notice of this Order pursuant to Fed. R. Crim. P.
32.2(b)(6).

5. That upon adjudication of all third-party interests, this Court will enter a Final Order
of Forfeiture pursuant to Federal Rule of Criminal Procedure 32.2(c), in which all interests will be

addressed.

IT TS SO ORDERED this ie of ; I a , 2021.

Juste) O., Meotg

HONORABLE SUSAN O. HICKEY
CHIEF UNITED STATES DiSTRICT JUDGE

 

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Matthew Hill, Counsel for Defendant

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Ben Wulff, Assistant U-S. Attorney

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